              USDC IN/ND case 3:20-cv-00076-DRL document 64 filed 04/29/22 page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action

                                                              UNITED STATES DISTRICT COURT
                                                                         for the

                                                           Northern District of Indiana


     FRANKENMUTH MUTUAL INSURANCE
              COMPANY                                                    )
                Plaintiff                                                )
                                  v.                                     )          Civil Action No.      3:20cv76
                                                                         )
                                                                         )
   FUN F/X II, INC.; CAO ENTERPRISES II, LLC
                             Defendant

                                                          JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):


     the plaintiff (name)                                                                                           recover from the
defendant (name)                                                                                                     the amount of
                                                                                                               ), which includes
                                                                               dollars ($                      prejudgment
interest at the rate of                     %, plus post judgment interest at the rate of               % per annum, along with costs.

Q the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                  recover costs from the plaintiff (name)
                                           .


X other:         The court GRANTS summary judgment in favor of Frankenmuth Mutual Insurance Company.

                                                                                                                                                .

This action was (check one):

    tried by a jury with Judge                                                                                    presiding, and the jury has
rendered a verdict.

Q tried by Judge                                                                              without a jury and the above decision
was reached.

X decided by Judge                Damon R. Leichty                                               on a motion for         summary judgment.

                                                                                                                                                .

Date:            Apr 29, 2022                                                      CLERK OF COURT

                                                                                                        /s/ D. Kirkwood
                                                                                                 Signature of Clerk or Deputy Clerk
